Case 1:19-mc-00226-JAO-WRP Document 1 Filed 06/28/19 Page 1 of 4        PageID #: 1




 CULPEPPER IP, LLLC
 Kerry S. Culpepper, Bar No. 9837
 75-170 Hualalai Road, Suite B204
 Kailua-Kona, Hawai’i 96740
 Telephone: (808) 464-4047
 Facsimile: (202) 204-5181
 E-Mail:     kculpepper@culpepperip.com

 Attorney for Owner/Requestor
 Hunter Killer Productions, Inc.,
 Bodyguard Productions, Inc.,
 Millennium Funding, Inc., and
 Definition Delaware, LLC

                       UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAII



  In re Subpoena to                     )   Case No.: 1:19-mc-226
                                        )   (Copyright)
  Digital Ocean, LLC                    )
                                        )   APPLICATION FOR 512(h)
                                        )   SUBPOENA
                                        )
                                        )
                                        )


                        APPLICATION FOR 512(h) SUBPOENA


 TO: CLERK OF THE ABOVE-ENTITLED COURT:

       Pursuant to 17 USC 512(h) (hereafter: “512(h)”), Hunter Killer Productions,

 Inc., Bodyguard Productions, Inc., Millennium Funding, Inc. and Definition

 Delaware, LLC (hereafter: “Owners”) hereby apply for issuance of a subpoena to

                                        1
 20-013Q
Case 1:19-mc-00226-JAO-WRP Document 1 Filed 06/28/19 Page 2 of 4                                                PageID #: 2




 Digital Ocean, LLC (the service provider) to identify alleged infringers of Owners’

 Copyright protected motion pictures. The following websites promote(d) and/or

 distribute(d) torrent files of owners’ motion pictures:

          YTS.GG; YTS.AM; YTS.AG; YTS.LT; and YTS.SU

          512(h) provides the copyright owner with a mechanism to request a subpoena

 from this Court. Particularly, 512(h)(1) provides:

           (1)Request.—

          A copyright owner or a person authorized to act on the owner’s behalf may request the clerk of any United States

 district court to issue a subpoena to a service provider for identification of an alleged infringer in accordance with this

 subsection.

          As stated in the Declaration of Counsel, the undersigned represents the Owners

 of the Copyright protected subject matter.

          512(h)(2) provides:

          (2)Contents of request.—The request may be made by filing with the clerk—

          (A) a copy of a notification described in subsection (c)(3)(A);

          (B) a proposed subpoena; and

          (C) a sworn declaration to the effect that the purpose for which the subpoena is sought is to obtain the identity of

 an alleged infringer and that such information will only be used for the purpose of protecting rights under this title.

          The undersigned provided a copy of the notification described in subsection

 (c)(3)(A) [See Exhibit “2”], a proposed subpoena and the sworn declaration.

          512(h)(3) provides:

          (3) Contents of subpoena.—




                                                               2
 20-013Q
Case 1:19-mc-00226-JAO-WRP Document 1 Filed 06/28/19 Page 3 of 4                                                PageID #: 3



          The subpoena shall authorize and order the service provider receiving the notification and the subpoena to

 expeditiously disclose to the copyright owner or person authorized by the copyright owner information sufficient to

 identify the alleged infringer of the material described in the notification to the extent such information is available to the

 service provider.

          The proposed subpoena is in accordance with 512(h)(3).

          512(h)(4) provides:

          (4) Basis for granting subpoena.—

          If the notification filed satisfies the provisions of subsection (c)(3)(A), the proposed subpoena is in proper form,

 and the accompanying declaration is properly executed, the clerk shall expeditiously issue and sign the proposed subpoena

 and return it to the requester for delivery to the service provider.

          As the undersigned has provided the notification, the proposed subpoena in

 proper form, and the properly executed declaration, the clerk must issue and sign the

 proposed subpoena. 512(h)(4) provides that the Clerk, not a Judge should issue and

 sign the proposed subpoena.

          512(h)(6) provides that “…the procedure for issuance and delivery of the

 subpoena…shall be governed to the greatest extent practicable by those provisions of

 the Federal Rules of Civil Procedure governing the issuance, service, and

 enforcement of a subpoena duces tecum”. That is, 512(h)(6) provides that the

 procedures for the Rule 45 subpoena shall govern. The proposed subpoena is a Rule

 45 subpoena.




                                                                3
 20-013Q
Case 1:19-mc-00226-JAO-WRP Document 1 Filed 06/28/19 Page 4 of 4          PageID #: 4




       For these reasons, the undersigned request that the Clerk of the Court

 expeditiously issue and sign the proposed subpoena and return it to the undersigned

 via ECF to be served on the service provider Digital Ocean, LLC.

       DATED: Kailua-Kona, Hawaii, June 28, 2019.



                                CULPEPPER IP, LLLC


                                /s/ Kerry S. Culpepper
                                Kerry S. Culpepper

                                Attorney for Owners/Requestors




                                         4
 20-013Q
